                             UNITED STATES DISTIUCT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     GREENEVILLE

UNITED ST ATES OF AMERICA                      )
                                               )       No. 2:12-CR-53
v.                                             )
                                               )       JUDGE JORDAN
MICHAEL BRANDON DYKES                          )

                             AGREED ORDER OF REVOCATION

        A Petition for Revocation of Supervised Release has been filed against the defendant,

Michael Brandon Dykes, and the defendant admits that he has violated the conditions of his

supervised release. An agreement has been reached between the parties, recommending that Mr.

Dykes' s supervised release should be revoked and that he should receive a sentence of six (6) months

incarceration, to be followed by three (3) years of supervised release, which shall be subject to the

same standard, general, and special conditions previously imposed with the added special conditions

of supervised release that Mr. Dykes shall: (1) reside for a period up to six (6) months at a halfway

house; and (2) "submit his person, property, house, residence, vehicle, papers, [computers (as

defined in Title 18 U.S.C.§ 1030(e)(l)), other electronic communications or data storage devices or

media,] or office, to a search conducted by a United States probation officer or designee. Failure to

submit to a search may be grounds for revocation of release. Mr. Dykes shall warn any other

occupants that the premises may be subject to searches pursuant to this condition. An officer may

conduct a search pursuant to this condition only when reasonable suspicion exists that Mr. Dykes

has violated a condition of his supervision and that the areas to be searched contain evidence of this

violation. Any search must be conducted at a reasonable time and in a reasonable manner."

       Mr. Dykes agrees to waive his right to a hearing pursuant to Rule 32 of the Rules of Criminal

Procedure, waive his right to allocute at a revocation hearing, and asks that the agreement of the




 Case 2:12-cr-00053-RLJ-MCLC                Document 531            Filed 04/08/15        Page 1 of 5
                                           PageID #: 1447
defendant and the government pursuant to Rule 11 of the Federal Rules of Criminal Procedure be

found to be a proper sentence. In doing so, Mr. Dykes acknowledges that he is giving up the

following rights:

       (1)     The right to the assistance of counsel for his defense.

       (2)     The right to see and hear all the witnesses and have them cross-examined in his

               defense.

       (3)     The right on his own part not to testify unless he chose to do so in his defense, and

       (4)     The right to the issuance of subpoenas to compel the attendance of witnesses to

               testify on his behalf.

       Mr. Dykes stipulates to the following violations that can be proven by the government by a

preponderance of the evidence:

       (1)     General Condition: The defendant shall not commit another federal, state, or
               local crime.

       (2)     General Condition: The defendant shall not illegally possess a controlled
               substance. The defendant shall refrain from unlawful use of a controlled
               substance.

       (3)     Standard Condition No. 3: The defendant shall answer truthfully all inquiries by
               the probation officer and follow the instructions of the probation officer.

       (4)     Standard Condition No. 7: The defendant shall refrain from excessive use of
               alcohol and shall not purchase, possess, use, distribute, or administer any narcotic
               or other controlled substance, or any paraphernalia related to such substances,
               except as prescribed by a physician.

       (5)     Standard Condition No. 8: The defendant shall not frequent places where
               controlled substances are illegally, sold, used, distributed, or administered, or
               other places specified by the Comt.




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Case 2:12-cr-00053-RLJ-MCLC                Document 531            Filed 04/08/15        Page 2 of 5
                                          PageID #: 1448
       (6)     Standard Condition No. 9: The defendant shall not associate with any persons
               engaged in criminal activity and shall not associate with any person convicted of a
               felony unless granted pennission to do so by the probation officer.

               On or about January 22, 2015, Mr. Dykes submitted a urine drug screen per the
               office Code-A-Phone refe1ral system, and the results were positive for
               buprenorphone. The offender admitted to the testing vendor that he used subutex.
               During a telephone conversation with this officer, Mr. Dykes also admitted to the
               illegal drug use.

               On or about January 27, 2015, Mr. Dykes reported to the United States Probation
               Office for a non-compliance meeting. During that meeting the offender admitted
               he had been using subutex illegally for the past three weeks. On this date, the
               offender submitted to a drug screen and the results were positive for
               buprenorphone. Mr. Dykes stated he was given the subutex from a former co·
               worker named "Tiny". Mr. Dykes' drug testing frequency was increased and he
               was referred to Comprehensive Community Services for substance abuse
               treatment.

               On or about February 3, 2015, Mr. Dykes reported to the United States Probation
               Office for a non-compliance meeting. During that meeting the offender stated he
               used 1h of a subutex tablet on or about January 30, 2015. Mr. Dykes stated after
               ingesting the subutex he attended his substance abuse treatment at Comprehensive
               Community Services. The offender also stated he ingested 114 of a subutex tablet
               on or about February 2, 2015.

       The Court has considered the Chapter Seven policy statements in the United States

Sentencing Guidelines. The violations above when grouped constitute Grade C violations for

which an advisory guideline range of 5 to 11 months would apply given his Criminal History

Category III. The Court has considered these advisory guideline ranges. The Court has also

considered the statutory maximum of two (2) years imprisonment. The Court has also considered

the factors listed in 18 U.S.C. §3553(a).

       The Court concludes that the recommended sentence is sufficient, but not greater than

necessary, to comply with the purposes set forth in 18 U.S.C. §3553(a). Specifically, the Court

finds that the defendant has admitted that the proof could establish by a preponderance of the


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 Case 2:12-cr-00053-RLJ-MCLC                 Document 531         Filed 04/08/15       Page 3 of 5
                                            PageID #: 1449
evidence that he committed the violations alleged in the amended petition for warrant for

offender under supervision.

       Based on the foregoing, the Court finds that the recommended sentence is sufficient, but

not greater than necessary to accomplish the purposes set forth in 18 U.S.C. §3553(a) while

taking into consideration all of those factors and the Chapter Seven policy statements. IT IS

HEREBY ORDERED, therefore, that the defendant's supervised release is hereby revoked. The

defendant is hereby sentenced to a term of six (6) months incarceration, to be followed by three

(3) years of supervised release, which shall be subject to the same standard, general, and special

conditions previously imposed with the added special conditions of supervised release that Mr.

Dykes shall: (1) reside for a period up to six (6) months at a halfway house; and (2) "submit his

person, property, house, residence, vehicle, papers, [computers (as defined in Title 18 U.S.C.§

1030(e)(l)), other electronic communications or data storage devices or media,] or office, to a

search conducted by a United States probation officer or designee. Failure to submit to a search

may be grounds for revocation of release. Mr. Dykes shall warn any other occupants that the

premises may be subject to searches pursuant to this condition. An officer may conduct a search

pursuant to this condition only when reasonable suspicion exists that Mr. Dykes has violated a

condition of his supervision and that the areas to be searched contain evidence of this violation.

Any search must be conducted at a reasonable time and in a reasonable manner."




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Case 2:12-cr-00053-RLJ-MCLC                Document 531           Filed 04/08/15        Page 4 of 5
                                          PageID #: 1450
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David Gmm
Assistant U.S. Attorney


Robert Welch                           Tim S. Moore


                                       A~~~~~
U.S. Probation Officer


                                       Rosa E. Brown
                                       Attorney for the Defendant




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 Case 2:12-cr-00053-RLJ-MCLC    Document 531      Filed 04/08/15    Page 5 of 5
                               PageID #: 1451
